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                                    EXHIBIT 1

               [Objections to Claims & Trustee’s Proposed Treatment]
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                                                                                      TRUSTEE'S 30th OMNIBUS OBJECTION TO CLAIMS
No.    Claimant's Name    Claim # Debtor/Case #                                         Applicable Bankruptcy Rule for Basis of Objection    Trustee's Objection                                         Proposed Treatment
                                                                                                                                             Claim was amended by Claim No. 3500 filed in ITT, which was
                                                                                        Amended by Subsequent Filed Claim [Bankruptcy Rule   previously disallowed pursuant to Order [Doc 4732] entered
      1 AROUJ WHYEN           913 ITT Educational Services, Inc., Case No. 16-07207     3007(d)(3)]                                          on March 31, 2022.                                          Disallow in full.

                                                                                                                                             Claim was amended by Claim No. 3137 filed in ITT. The
                                                                                                                                             Trustee anticipates that Claim No. 3137 will be an allowed
                                                                                                                                             claim; provided however, such allowance shall be subject to
                                                                                                                                             further objection to the extent Claimant is entitled to receive
                                                                                                                                             additional distributions under 11 U.S.C. § 507(a)(4) that will
                                                                                        Amended by Subsequent Filed Claim [Bankruptcy Rule   result in the Claimant receiving in the aggregate more than
      2 FLOYD HODOH          2381 ITT Educational Services, Inc., Case No. 16-07207     3007(d)(3)]                                          the statutory limit under 11 U.S.C. § 507(a)(4).                Disallow in full.

                                                                                                                                             Claim was amended by Claim Nos. 1283 and 1284 filed in ITT,
                                                                                                                                             which the Trustee plans to object to and reserves all rights to
                                                                                                                                             object on any grounds permitted under applicable law.
                                                                                                                                             Claimant also filed a separate and different claim in ITT (Claim
                                                                                        Amended by Subsequent Filed Claim [Bankruptcy Rule   No. 1282), which the Trustee reserves all rights to object on
      3 MICHAEL HAMMONS       346 ITT Educational Services, Inc., Case No. 16-07207     3007(d)(3)]                                          any gounds permitted under applicable law.                       Disallow in full.

                                                                                                                                             Claim was amended by Claim No. 1110 filed in ITT, which the
                                                                                        Amended by Subsequent Filed Claim [Bankruptcy Rule   Trustee plans to object to and reserves all rights to object on
      4 SANDRA R. OWENS        58 ITT Educational Services, Inc., Case No. 16-07207     3007(d)(3)]                                          any grounds permitted under applicable law.                     Disallow in full.
